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 8                                    UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES,                                      No. 2:08-cr-00481-MCE-1
12                       Plaintiff,
13           v.                                          ORDER
14   RUI TAO LIN,
15                       Defendant.
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17           On February 6, 2019, the Court sentenced Defendant Rui Tao Lin (“Defendant”)

18   to probation for a total term of 36 months after he pled guilty to counts 2 and 3 of the

19   information.1 See ECF Nos. 5, 34, 36, 51-52. On February 13, 2009, the Judgment and

20   Commitment as to Defendant was docketed. ECF No. 52. According to Defendant’s

21   counsel, Defendant has completed the terms of his sentence. ECF No. 86 at 2.

22           On October 20, 2014, Defendant filed a Motion to Correct the Judgment and

23   Commitment (ECF No. 52). Mot., ECF No. 86. In his Motion, Defendant explains that

24   the “Judgment in [this] case properly reflects the offenses of conviction in plain

25   language, but under the statutory citation reflects a conviction for alien smuggling in

26   violation of” 8 U.S.C. § 1324(a). Id. at 2; see ECF No. 52. “With no objection by the

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             Count two alleged a violation of 8 U.S.C. § 1324a(a)(1)(A)(i), the Unlawful Employment of Aliens.
28   See ECF No. 5 at 2. Count three alleged a violation of 18 U.S.C. § 1341, Mail Fraud. See id. at 2-3.
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 1   Government[,] [Defendant] respectfully ask[s] that the Judgment be clerically [amended]”
 2   to show a conviction for the Unlawful Employment of Aliens in violation of 8 U.S.C.
 3   § 1324a(a)(1)(A)(i) rather than in violation of 8 U.S.C. § 1324(a). ECF No. 86 at 2-3. On
 4   October 23, 2014, the United States filed a Statement of Non-Opposition. See ECF No.
 5   87.
 6         Defendants’ unopposed Motion to Correct the Judgment and Commitment (ECF
 7   No. 86) is GRANTED. The Clerk of the Court is ORDERED to docket an Amended
 8   Judgment and Commitment as to Defendant Rui Tao Lin. The Amended Judgment and
 9   Commitment SHALL reflect the following code section as to the charge of “Unlawful
10   Employment of Aliens”: “8 U.S.C. § 1324a(a)(1)(A).” The Clerk of the Court is
11   DIRECTED to serve courtesy copies of this Order and the Amended Judgment and
12   Commitment on: (1) the United States Probation Office for the Eastern District of
13   California; and (2) Defendant’s counsel of record at the following email addresses:
14   jcesq99@gmail.com and jcesq99@aol.com.
15         IT IS SO ORDERED.
16   Dated: October 28, 2014
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